      Case 3:24-cv-06507-JD             Document 83   Filed 04/17/25   Page 1 of 16



 1   RICHARD S.J. HUNG (CA SBN 197425)
     rhung@mofo.com
 2   JONATHAN M. MORRIS (CA SBN 356152)
     jonathanmorris@mofo.com
 3   HOLLY M. PETERSEN (CA SBN 351588)
     hollypetersen@mofo.com
 4   MORRISON & FOERSTER LLP
     425 Market Street
 5   San Francisco, California 94105-2482
     Telephone: (415) 268-7000
 6   Facsimile:    (415) 268-7522
 7   BITA RAHEBI (CA SBN 209351)
     brahebi@mofo.com
 8   RYAN J. MALLOY (CA SBN 253512)
     rmalloy@mofo.com
 9   MORRISON & FOERSTER LLP
     707 Wilshire Boulevard
10   Los Angeles, California 90017
     Telephone: (213) 892-5200
11   Facsimile:    (213) 892-5454
12   Attorneys for Plaintiff
     FIGMA, INC.
13

14                                    UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17

18   FIGMA, INC.,                                       Case No. 3:24-cv-06507-JD

19                       Plaintiff,                     FIGMA’S REPLY IN SUPPORT OF
                                                        PRELIMINARY INJUNCTION
20           v.                                         MOTION

21   MOTIFF PTE. LTD., YUANFUDAO HK                     Date: May 1, 2025
     LTD., and KANYUN HOLDINGS GROUP                    Time: 10:00 a.m.
22   CO. LTD.,                                          Courtroom: 11, 19th Floor
                                                        Judge: Hon. James Donato
23                       Defendants.

24

25

26                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
27

28
     FIGMA’S REPLY SUPP. PRELIM. INJ.
     CASE NO. 3:24-CV-06507-JD
      Case 3:24-cv-06507-JD                    Document 83              Filed 04/17/25             Page 2 of 16



 1                                                   TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES .......................................................................................................... ii
 3   TABLE OF ABBREVIATIONS ................................................................................................... iii
     I.   INTRODUCTION .............................................................................................................. 1
 4
     II.  SUMMARY OF FACTS LEARNED IN EXPEDITED DISCOVERY ............................. 1
 5   III. ARGUMENT ...................................................................................................................... 2
 6        A.   Defendants Have Not Rebutted Figma’s Showing on Its Copyright Claim. .......... 2
               1.     Figma’s registrations cover all versions of Figma Design. ......................... 2
 7
               2.     Defendants have failed to rebut Figma’s showing of infringement. ........... 2
 8             3.     Serious questions of infringement of Figma’s Help Center remain............ 6
 9        B.   Defendants Have Not Rebutted Figma’s Showing on Its Contract Claim. ............. 6
          C.   Defendants Have Not Rebutted Figma’s Showing of Irreparable Harm. ............... 7
10
               1.     Figma faces real harm. ................................................................................ 7
11             2.     Figma’s harm is imminent. ......................................................................... 8
12             3.     Money damages cannot adequately redress Figma’s harm. ........................ 9
               4.     Defendants’ infringement and breach harm Figma. .................................... 9
13
          D.   The Balance of Equities Favors Figma. ................................................................ 10
14        E.   Defendants’ Infringement and Breach Do Not Serve the Public Interest. ............ 10
15        F.   A Six-Figure Security Requirement Is Appropriate.............................................. 10
     IV.  CONCLUSION ................................................................................................................. 10
16

17

18

19

20

21

22

23

24

25

26

27

28
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                                                              i
     CASE NO. 3:24-CV-06507-JD
      Case 3:24-cv-06507-JD                      Document 83               Filed 04/17/25             Page 3 of 16



 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                   Page(s)
 3   Cases
 4   Altera Corp. v. Clear Logic, Inc.,
         424 F.3d 1079 (9th Cir. 2005)................................................................................................... 6
 5

 6   Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith,
        598 U.S. 508 (2023) .................................................................................................................. 6
 7
     Arc of Cal. v. Douglas, 757 F.3d 975, 990 (9th Cir. 2014) ............................................................ 8
 8
     Artifex Software, Inc. v. Hancom, Inc.,
 9       No. 16-cv-6982, 2017 WL 1477373 (N.D. Cal. Apr. 25, 2017) ............................................... 7
10   Cisco Sys. Inc v. Arista Networks, Inc.,
        No. 14-cv-5344, 2016 WL 4440239 (N.D. Cal. Aug. 23, 2016) .............................................. 5
11

12   CNC Software, LLC v. Glob. Eng’g Ltd. Liab. Co.,
       No. 22-cv-2488, 2023 WL 3409463 (N.D. Cal. May 12, 2023) ......................................... 8, 10
13
     Concord Music Group, Inc. v. STAX. PTY Ltd.,
14      22-cv-3331, 2023 WL 2977495 (C.D. Cal. 2023) .................................................................... 8
15   CyberMedia, Inc. v. Symantec Corp.,
        19 F. Supp. 2d 1070 (N.D. Cal. 1998) ...................................................................................... 3
16

17   Disney Enters., Inc. v. VidAngel, Inc.,
        869 F.3d 848 (9th Cir. 2017)................................................................................................. 5, 8
18
     Douglas Dynamics, LLC v. Buyers Prods. Co.,
19      717 F.3d 1336 (Fed. Cir. 2013) ................................................................................................. 8

20   F.T.C. v. Affordable Media,
        179 F.3d 1228 (9th Cir. 1999)................................................................................................... 6
21
     Moonbug Ent. Ltd. v. BabyBus (Fujian) Network Tech. Co.,
22
       No. 21-cv-6536, 2024 WL 2193323 (N.D. Cal. May 15, 2024) ............................................... 3
23
     Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
24      886 F.3d 803 (9th Cir. 2018)..................................................................................................... 9

25   Robert Bosch LLC v. Pylon Mfg. Corp.,
        659 F.3d 1142 (Fed. Cir. 2011) ................................................................................................. 9
26
     Sega Enters. Ltd. v. Accolade, Inc.,
27      977 F.2d 1510 (9th Cir. 1992)................................................................................................... 5
28
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                                                               ii
     CASE NO. 3:24-CV-06507-JD
      Case 3:24-cv-06507-JD                        Document 83                Filed 04/17/25               Page 4 of 16



 1   Softketeers, Inc. v. Regal W. Corp.,
         No. 19-cv-519, 2019 WL 4418819 (C.D. Cal. May 6, 2019) ................................................... 2
 2
     Stormans, Inc. v. Selecky,
 3
         586 F.3d 1109, 1139 (9th Cir. 2009)....................................................................................... 10
 4
     teamLab Inc. v. Museum of Dream Space, LLC,
 5      650 F. Supp. 3d 934 (C.D. Cal. 2023) ...................................................................................... 6

 6   Teleflora, LLC v. Florists’ Transworld Delivery, Inc.,
        No. 03-cv-5858, 2004 WL 1844847 (N.D. Cal. Aug. 18, 2004) .............................................. 5
 7
     Teradyne, Inc. v. Astronics Test Sys., Inc.,
 8      No. 24-239, 2025 WL 341828 (9th Cir. Jan. 30, 2025) ............................................................ 5
 9
     Warner Bros. Ent. Inc. v. WTV Sys., Inc.,
10     824 F. Supp. 2d 1003 (C.D. Cal. 2011) .................................................................................... 9

11   Yield Dynamics, Inc v. TEA Sys. Corp.,
         No. 06-cv-331, 2007 WL 9812914 (N.D. Cal. Feb. 21, 2007) ............................................. 4, 5
12
     Statutes
13
     17 U.S.C. § 101 ............................................................................................................................... 6
14

15   17 U.S.C. § 107 ............................................................................................................................... 5

16   17 U.S.C. § 301(a) .......................................................................................................................... 6

17

18

19

20

21

22

23

24

25

26

27

28
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                                                                    iii
     CASE NO. 3:24-CV-06507-JD
Case 3:24-cv-06507-JD   Document 83   Filed 04/17/25   Page 5 of 16
      Case 3:24-cv-06507-JD             Document 83      Filed 04/17/25     Page 6 of 16



 1   I.      INTRODUCTION
 2           Defendants do not dispute that numerous elements of the Motiff and Figma products are

 3   virtually identical. Nor do Defendants dispute that they relied upon and used Figma’s product to

 4   develop their own, despite their obligations under the MSA.

 5

 6                                       . The Motiff and Figma products are so similar that even

 7   Defendants’ damages expert                           . (Ellis Dep. 56:14-57:4; Ex. 14.) Through

 8   their improper conduct, Defendants have already gained                              users,

 9   including current and potential Figma customers that Figma now risks losing.

10           These facts alone confirm that Figma is likely to succeed on its copyright and contract

11   claims and to suffer irreparable harm if Defendants continue distributing Motiff. Defendants’

12   rebuttal arguments misunderstand copyright law and disregard the facts showing harm to Figma.

13   The Court should preliminarily enjoin Defendants’ infringement and breach worldwide.

14   II.     SUMMARY OF FACTS LEARNED IN EXPEDITED DISCOVERY
15           Defendants                                                               , and
16                                                      . (E. Zhang Dep. 58:12-59:9; R. Zhang Dep.
17   121:19-25, 122:15-124:19; Singh III Decl. ¶ 20; Schoettelkotte Reply Decl. ¶ 15.)
18

19                                                                  (Ex. 13.)
20                                                            . (Id.; see also E. Zhang Dep. 256:20-
21   258:18; Yang Dep. 62:19-63:23.) Defendants have yet to provide a complete accounting of their
22   access. Motiff co-founder Max Zhang, who
23                                                               (M. Zhang Dep. 15:22-24, 81:5-85:2,
24   106:21-107:9.) Even after Figma terminated Defendants’ access,
25                         . (E. Zhang Dep. 100:16-104:14, 282:3-283:9; Ex. 13.)
26                                                                                  (Id. 265:23-280:25;
27   Ex. 10; Ex. 13 (“debugging” entries); Singh III Decl. ¶¶ 68-70.) Motiff now has
28   accounts. (M. Zhang Decl. ¶ 4; M. Zhang Dep. 98:13-16; R. Zhang Dep. 102:18-103:16; Ex. 11.)
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                          1
     CASE NO. 3:24-CV-06507-JD
         Case 3:24-cv-06507-JD          Document 83      Filed 04/17/25      Page 7 of 16



 1   III.     ARGUMENT
 2            A.     Defendants Have Not Rebutted Figma’s Showing on Its Copyright Claim.
 3                   1.      Figma’s registrations cover all versions of Figma Design.
 4            Defendants wrongly contend that Figma has not shown that Motiff’s “similar features fall
 5   within the scope of [Figma’s] registered copyrights.” (Opp. 5-6.) This is based on their incorrect
 6   assumption that Figma’s registrations do not cover source code versions for Figma Design
 7   predating the versions submitted to the Copyright Office. They do.
 8            Defendants seek to limit the scope of Figma’s copyrights because the registrations refer to
 9   “new and revised computer program code.” But Copyright Office documentation is clear that
10   registrations cover “both new and preexisting source code if (1) the preexisting source code has
11   never been published or registered, and (2) the claimant owns the copyright in both the new and
12   the preexisting source code.” Dkt. No. 59-21, at 2 (Copyright Office Circular 61 (emphasis
13   added)); accord Softketeers, Inc. v. Regal W. Corp., No. 19-cv-519, 2019 WL 4418819, at *3
14   (C.D. Cal. May 6, 2019) (registrations cover all prior versions not registered or publicly
15   distributed). As Defendants offer no evidence that prior versions were “published or registered,”
16   Figma’s three registrations cover all versions of Figma Design source code through March 2024.
17            To moot this issue, Figma filed a supplementary copyright registration for the 2020 code
18   that deleted “previous versions” from the scope of code excluded, which the Copyright Office
19   granted. (Ex. 31 (“[T]he registration will cover all of the content that appears in the version of
20   the work that you deposited on August 14, 2024, . . . including any unpublished or unregistered
21   source code from earlier versions that have been incorporated into the deposited copy.”).)
22   Because the 2020 registration was the first registration, it covers all prior versions of the code. 1
23                   2.      Defendants have failed to rebut Figma’s showing of infringement.
24            Figma has shown, and Defendants do not dispute, that the Motiff product contains code,
25   structures, interface elements, texts, and bugs that are strikingly similar to the Figma Platform’s.
26
     1
27     Figma also filed supplementary registrations for the 2023 and 2024 code that replaced “previous
     versions” with “previous registered versions” in the scope of code excluded, but the
28   Copyright Office noted—consistent with Circular 61—that there is “no legal difference” between
     those two phrases. (Exs. 16, 17.)
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                             2
     CASE NO. 3:24-CV-06507-JD
Case 3:24-cv-06507-JD   Document 83   Filed 04/17/25   Page 8 of 16
      Case 3:24-cv-06507-JD             Document 83      Filed 04/17/25     Page 9 of 16



 1   Figma’s case. Max Zhang, for example, provided a fact declaration with toolbar images for
 2   Figma, Motiff, and other products. (M. Zhang Decl. ¶ 25.) The images confirm that Motiff’s
 3   toolbar clones the horizontal orientation and iconography of Figma’s toolbar. (Id.) The other
 4   toolbars are arranged quite differently—vertically, with different iconography, or both. (Id.)
 5           Figma’s document format is also copyrightable. It includes “expressive elements like
 6   names, values, and organization and structure” that “satisfy the extrinsic test.” (Singh Decl.
 7   ¶¶ 64-77.) Defendants copied expressive elements, including field names, and even Figma’s
 8   deviations from its own conventions. (Singh Decl. ¶¶ 67-77.) Again, their own evidence
 9   undermines their position that these elements are “inherently functional.” (Opp. 8.) Internal
10   Motiff documents
11                      (Exs. 7-9 (emphasis added).) That the Motiff product copies these names
12   confirms that Defendants copied Figma’s creative expression. See Yield Dynamics, Inc v. TEA
13   Sys. Corp., No. 06-cv-331, 2007 WL 9812914, at *4 (N.D. Cal. Feb. 21, 2007) (code, including
14   “variable names,” protected when not the “sole expression” of the “mathematical formulae and
15   functional ideas”).
16           Figma’s shader code is copyrightable because it includes expressive elements, including
17   its order, variable names, and structure. See Yield, 2007 WL 9812914, at *4.
18                                                                                      (Singh III Decl.
19   ¶ 43.) Ignoring these elements, Defendants assert that the code is just “mathematical formulas.”
20   (Opp. 7.) But even code with mathematical formulae is protectable expression if there are many
21   ways to express the underlying ideas, as here. See Yield, 2007 WL 9812914, at *4. Reviewing
22   the recently produced Motiff source code, Dr. Singh found that
23                                                           . (Singh III Decl. ¶¶ 18, 40-48.)
24                                               . (Plock Dep. 115:1-116:15; Singh III Decl. ¶ 22.)
25           In sum, at least Figma’s GUI components, document formats, and shader code contain
26   copyrightable expression. Defendants’ copying of that expression to create virtually identical
27   elements confirms that Defendants have infringed Figma’s copyrights. Rather than
28                              , Defendants’ witnesses testified that
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                           4
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD              Document 83      Filed 04/17/25     Page 10 of 16



 1                                                                                              .
 2   (E. Zhang Dep. 100:16-104:14, 282:3-283:9.)
 3                           b.         Defendants infringe both literal and non-literal elements.
 4           Faced with incontrovertible evidence that they copied Figma’s protectable expression at
 5   the heart of Figma’s Platform, Defendants repeatedly claim that their copying is permitted
 6   because the implementing source code is different and they did not access Figma’s source code.
 7   (Opp. 6-11.) But protections for software under the Copyright Act extend to both “literal” and
 8   “non-literal” components. Teleflora, LLC v. Florists’ Transworld Delivery, Inc., No. 03-cv-5858,
 9   2004 WL 1844847, at *5 (N.D. Cal. Aug. 18, 2004). Literal components include source code;
10   non-literal components include the software’s structure, organization, and user interface. See id.
11           Defendants do not dispute that they misappropriated non-literal components—e.g., GUI
12   elements and Figma’s software structure and organization. Dr. Plock’s methodology, which
13   failed to detect Defendants’ literal copying of Figma’s source code, certainly could not detect
14   their copying of the code’s expression of the non-literal elements. (Singh III Decl. ¶¶ 22-39.)
15   That copying is infringement, even if the implementing code differs. Cf. Cisco Sys. Inc v. Arista
16   Networks, Inc., No. 14-cv-5344, 2016 WL 4440239, at *8 (N.D. Cal. Aug. 23, 2016) (copying
17   website’s “conceptual model, navigation, imaging, and look and feel” supported injunction).
18           In any event, Motiff did copy literal components. Defendants concede that they copied
19   shader code. (Opp. 7.)
20   (Singh III Decl. ¶¶ 40-48.) As rendering the user’s design is a core Figma feature, that copying
21   constitutes infringement. (Id. ¶ 48.) See Yield, 2007 WL 9812914, at *6 (“qualitatively
22   important” code, even if small in proportion, supports “substantial similarity”).
23                           c.         Fair use does not excuse Defendants’ infringement.
24           Defendants’ fair use argument—that they had to copy Figma for “interoperability”—is
25   baseless. (Opp. 2, 6-11.) Defendants have not met their burden of establishing a fair use defense.
26   See Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017). They make no
27   effort to apply the fair use factors under 17 U.S.C. § 107, and their own authority recognizes that
28   there are no bright line rules. See Sega Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1519 (9th
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                           5
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD              Document 83    Filed 04/17/25      Page 11 of 16



 1   Cir. 1992) (under “settled law,” copying cannot be “lawful per se”).
 2           Regardless, Defendants’ invocation of “interoperability” is a strawman.
 3             they did not reverse engineer Figma’s software merely to make a compatible product.
 4   Compare with, e.g., Teradyne, Inc. v. Astronics Test Sys., Inc., No. 24-239, 2025 WL 341828
 5   (9th Cir. Jan. 30, 2025). (E. Zhang Dep. 126:18-24
 6                                                                 .) Rather, they accessed the Figma
 7   Platform to create a product that looks and behaves the same way. That is not fair use. Cf. Andy
 8   Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 531-32 (2023) (“A use that
 9   shares the purpose of a copyrighted work . . . is more likely to provide the public with a
10   substantial substitute for matter protected by the copyright owner’s interests in the original work
11   or derivatives of it, which undermines the goal of copyright.” (cleaned up)).
12                   3.      Serious questions of infringement of Figma’s Help Center remain.
13           Defendants do not dispute that their Help Center pages infringe Figma’s copyrights.
14   Instead, they wrongly argue they “mooted” Figma’s motion by taking down the pages. (Opp.
15   10-11.) It is “well-settled that an action for an injunction does not become moot merely because
16   the conduct complained of was terminated, if there is a possibility of recurrence.” F.T.C. v.
17   Affordable Media, 179 F.3d 1228, 1237 (9th Cir. 1999) (cleaned up). Recurrence is likely here
18   given that Defendants still exploit Figma today, even after Figma banned their accounts.
19           Defendants’ argument that Figma’s registrations are invalid misunderstands the meaning
20   of “publication” under U.S. copyright law. (Opp. 10-11.) Under the Copyright Act,
21   “publication” requires more than “display.” 17 U.S.C. § 101 (“[D]isplay of a work does not of
22   itself constitute publication.”). Accordingly, Figma’s display of its Help Center articles on its
23   website does not constitute “publication” under the Act. See teamLab Inc. v. Museum of Dream
24   Space, LLC, 650 F. Supp. 3d 934, 946 (C.D. Cal. 2023) (website display not publication).
25           B.      Defendants Have Not Rebutted Figma’s Showing on Its Contract Claim.
26           Defendants do not dispute reverse engineering Figma’s Platform. (Opp. 11-12.) Nor do
27   they dispute being bound by Figma’s MSA, which expressly prohibits this. (Id.) Instead, they
28   argue that their reverse engineering was excusable because federal copyright law preempts
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                           6
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD              Document 83    Filed 04/17/25      Page 12 of 16



 1   Figma’s claim or provides a safe harbor. (Id.) Neither is correct.
 2           First, the Copyright Act’s preemption provision (17 U.S.C. § 301(a)) does not apply when
 3   a state law claim “includes an ‘extra element’ that makes the right asserted qualitatively different
 4   from those protected under the Copyright Act.” Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079,
 5   1089 (9th Cir. 2005). Figma’s MSA provides an extra element by prohibiting “circumvent[ing]
 6   or disabl[ing] any security or other technological features or measures of the Figma Platform.”
 7   (Dkt. No. 1-1 § 3.A.)
 8                                                                                  (E. Zhang Dep.
 9   175:21-178:1; Exs. 10, 13; Plock Dep. 34:24-35:16; Singh III Decl. ¶¶ 68-70.)
10           Second, “the Ninth Circuit Court has held that the Copyright Act does not preempt causes
11   of action premised upon possible extraterritorial infringement.” Artifex Software, Inc. v. Hancom,
12   Inc., No. 16-cv-6982, 2017 WL 1477373, at *4 (N.D. Cal. Apr. 25, 2017) (quoting Allarcom Pay
13   Television, Ltd. v. Gen. Instr. Corp., 69 F.3d 381, 387 (9th Cir. 1995)). Here, at least some of the
14   reverse engineering occurred overseas, as most of Defendants’ employees are in Beijing.
15   (M. Zhang Dep. 95:6.) This implicates the sort of “extraterritorial infringement to which the
16   Copyright Act would not apply.” Artifex, 2017 WL 147737, at *4.
17           Defendants’ fallback position—that the MSA’s provision allows conduct “expressly
18   permitted by applicable law”—similarly fails. (Opp. 12.) Defendants assume that all they did
19   was “reverse engineer[] to learn the ideas and functional elements embodied in [Figma’s code].”
20   Id. But as noted above, they did far more. They studiously and brazenly copied expressive
21   elements of Figma’s Platform unrelated to interoperability to create a cloned product. As
22   explained above, this is not fair use, and Defendants’ invocation of 17 U.S.C. § 1201(f) does not
23   change that fact. See Neon Enter. Software, LLC v. Int’l Bus. Machines Corp., No. 09-ca-896,
24   2011 WL 2036674 (W.D. Tex. May 24, 2011) (§ 1201(f) “has no bearing on” contract claim for
25   “reverse assembly” notwithstanding “expressly permitted by federal law” provision).
26           C.      Defendants Have Not Rebutted Figma’s Showing of Irreparable Harm.
27                   1.      Figma faces real harm.
28           Figma has adduced ample evidence of its harm. First,
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                            7
     CASE NO. 3:24-CV-06507-JD
Case 3:24-cv-06507-JD   Document 83   Filed 04/17/25   Page 13 of 16
     Case 3:24-cv-06507-JD              Document 83      Filed 04/17/25     Page 14 of 16



 1   relief” based solely on delay. Arc of Cal. v. Douglas, 757 F.3d 975, 990 (9th Cir. 2014); see also
 2   Disney, 224 F. Supp. 3d at 977 (delay of a year not “particularly probative” in view of “ongoing,
 3   worsening injuries”).
 4                   3.      Money damages cannot adequately redress Figma’s harm.
 5           The ongoing harm to Figma undermines Defendants’ contention that Figma has an
 6   adequate remedy at law. (Opp. 13.) Defendants’ infringement risks irreversible brand erosion
 7   and customer loss. (Mot. 12-14; Schoettelkotte Reply Decl. ¶¶ 22-25.) These harms are not
 8   compensable by money damages. See CNC Software, LLC v. Glob. Eng’g Ltd. Liab. Co., No. 22-
 9   cv-2488, 2023 WL 3409463, at *7 (N.D. Cal. May 12, 2023) (“threat of the loss of prospective
10   customers, goodwill, or reputation . . . cannot be fully remedied with a financial award”). The
11   harm is real. Defendants’ own damages expert
12                                               . (Ellis Dep. 56:14-57:4; Ex. 14; Schoettelkotte Reply
13   Decl. ¶¶ 29-30.) He also did not address                                   or
14            (Ellis Dep. 17:6-19, 35:3-21, 52:8-19; Schoettelkotte Reply Decl. ¶ 20.) Nor did he
15                                                                                      . (Ellis Dep.
16   102:8-103:1.)
17           Moreover, Defendants cannot assure they can satisfy a future judgment. See Robert Bosch
18   LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1150-51 (Fed. Cir. 2011) (defendants’ “questionable
19   financial condition . . . reinforces the inadequacy of a remedy at law”). Motiff, which sells the
20   product in the United States, is a mere shell company. Ryan Zhang, the co-founder of Motiff,
21                                                                 and
22                                      . (R. Zhang Dep. 11:10-17:25, 124:20-125:23.)
23                   4.      Defendants’ infringement and breach harm Figma.
24           Defendants have trumpeted the Motiff product’s similarities to Figma’s Platform to
25   compete for customers (Dkt. Nos. 28-67, 28-69, 28-70), even advertising it as the “Best Figma
26   Alternative” (Dkt. No. 28-70). Now faced with those same statements, Defendants try to disclaim
27   them and attribute customer interest solely to the Motiff product’s “AI capability.” (Opp. 13-14.)
28           Defendants ignore that their AI functionalities depend on their cloned editor. That editor
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                          9
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD              Document 83     Filed 04/17/25     Page 15 of 16



 1   “lies at the heart” of their product, and Motiff’s AI features will not work without it. (Dkt.
 2   No. 28-63.) Motiff’s copying thus harms Figma. See Nat’l Wildlife Fed’n v. Nat’l Marine
 3   Fisheries Serv., 886 F.3d 803, 823 (9th Cir. 2018) (plaintiff need only show that infringement has
 4   “sufficient causal connection” to harm, not that it is the “exclusive cause”).
 5                                              Figma also offers AI functionalities. (R. Zhang Dep.
 6   57:24-58:1.) Rather than rebut the harm to Figma, Defendants’ emphasis on their AI
 7   functionalities reinforces it.
 8           D.       The Balance of Equities Favors Figma.
 9           Defendants “cannot complain of the harm that will befall [them] when properly forced to
10   desist from [their] infringing activities.” Warner Bros. Ent. Inc. v. WTV Sys., Inc., 824 F. Supp.
11   2d 1003, 1014-15 (C.D. Cal. 2011) (citation omitted). Motiff’s unsupported appeal to its
12   reputation or purported investments is of no consequence. See id. (rejecting defendants’ “claim,
13   without any evidence, that an injunction would significantly harm, if not destroy, their business”).
14           E.       Defendants’ Infringement and Breach Do Not Serve the Public Interest.
15           Motiff’s AI functionality does not show that an injunction would be against the public
16   interest. The public interest lies in fostering innovation through lawful competition, not
17   misappropriation. See CNC, 2023 WL 3409463, at 8 (“public interest is . . . in upholding
18   copyright protections”). Stormans, Inc. v. Selecky is inapposite. The requested injunction there
19   would have deprived the public of access to emergency contraception and imposed obligations on
20   non-party pharmacies and state regulators. See 586 F.3d 1109, 1139 (9th Cir. 2009). Enjoining
21   Motiff’s unlawful conduct would have no similar effect here, as Figma also offers AI features.
22           F.       A Six-Figure Security Requirement Is Appropriate.
23           Defendants claim to have generated                                               from its
24                users outside of China. (M. Zhang Decl. ¶ 4.) Motiff’s co-founder estimated that it has
25                      users in China. (M. Zhang Dep. 98:8-16.) Figma proposes that a bond in the
26   six-figure range (e.g., $300,000) would be more than adequate here.
27   IV.     CONCLUSION
28           For these reasons, Figma requests that the Court grant a preliminary injunction.
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                                          10
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD              Document 83   Filed 04/17/25    Page 16 of 16



 1   Dated: April 17, 2025                             MORRISON & FOERSTER LLP
 2

 3                                                     By: /s/ Richard S.J. Hung
                                                           Richard S.J. Hung
 4
                                                           Attorneys for Plaintiff
 5                                                         FIGMA, INC.
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     FIGMA’S REPLY SUPP. PRELIM. INJ.
                                                                                        11
     CASE NO. 3:24-CV-06507-JD
